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                               UNITED STATES DISTRICT COURT      1
                           FOR THE SOUTHERN DISTRICT OF FLORIDA,
                                      MIAMI DIVISION

  JANE ELIZABETH SNIDER-HANCOX,
        Plaintiff,

  V.



  NCL (BAHAMAS) LTD., d/b/a
  NORWEGIAN CRUISE LINES
        Defendant.
                                                                             ;__
                  I
  ----------------
                                          VERDICT FORM

             WE THE filRY find as follows:

             1.     Was Defendant NCL (BABAMAS) LTD. negligent and -tvas such negligence a

  legal cause ofloss, injury, or damage to Plaintiff JANE ELIZABETH SNIDER-HANCOX?

                           YES- - - - -                No_V::~-
                    If you answer to Question 1 is "NO," this ends your deliberations and
             your verdict is for the Defendant. Your foreperson should sign and date the last
             page of this verdict form.

                    If your answer to Question 1 is "YES," please answer Question 2.


             2.     Was there negligence on the part of Plaintiff JANE ELIZABETH SNIDER-

  HANCOX that was a legal cause of her loss, injury, or damage?

                    YES - - - -                  NO- - - - - -

                    If you answered "YES" to Question 2, please answer question 3. If you
             answered "NO" to Question 2, please skip Question 3 and answer Questions 4
             and 5.
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                 3.     If you answered "YES" to Question 2, state the percentage of any negligence that

       you charge to:

                        Defendant, NCL (BAHAMAS) LTD .. :                                - - -%

                        Plaintiff, JANE ELIZABETH SNIDER-HANCO X:                   - - -%

                        TOTAL MUST EQUAL 100%

                        In determining the amount of damages, do not make any reduction
                        because of the negligence, if any, of Jane Elizabeth Snid~i"-Hancox.
                        If you find that she was to any extent negligent, the Court in
                        entering judgment will make an appropriate reduction in the
                        damages awarded.

                        Please answer Questions 4 and 5.

                 4.     What sum of money do you find to be the total amount of Plaintiff JANE

       ELIZABETH SNIDER-HANCO X's damages?

                 (a) What is the total amount of Plaintiff JANE ELIZABETH SNIDER-
                 HANCOX's medical expenses incurred?
                                                                           $ _ _ _ _ _ __


                 (b)     What is the total amount of Plaintiff JANE ELIZABETH SNIDER-
                 HANCOX's damages for pain and suffering, disability, physical impairment,
                 disfigure~ent, mental anguish, inconvenience, aggravation of a disease or physical
                 defect, and loss of capacity for the enjoyment of life sustained and to be sustained in
                 the future? ·

                                                                           $_ _,_,.- - - - - - - -

                  TOTAL COMPENSATORY DAMAGES
                  OF THE PLAINTIFF JANE ELIZABETH
                  SNIDER-HANCOX:                                           $
                                                                            ----------
                                                                            (Add Lines (4)(a) and (4)(b))


                                                  \~+t,\. day of Oct~ber, 2021.
                        SO SAY WE ALL this
                                                                            ·.-~.



                                                            V       FOREPERSON



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